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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                   )
GERARD M. BRADFORD,                )
          Plaintiff,               )
                                   )
             v.                             Civil Action No.
                                   )        17-12245-NMG
                                   )
COMMONWEALTH OF MASSACHUSETTS      )
DEPARTMENT OF THE TRIAL COURT,     )
          Defendant.               )
                                   )

                                 ORDER

GORTON, J.

     For the reasons set forth below, the Court denies without

prejudice the plaintiff’s motion for leave to proceed in forma

pauperis.

     Gerard M. Bradford has filed a lawsuit in which he alleges

that his employment was wrongfully terminated by his former

employer, the Commonwealth’s Department of the Trial Court.          He

also seeks leave to proceed in forma pauperis, representing that

he is without any income and that he only has $103.57 in assets.

He further states that he does not have any regular monthly
expenses for housing, transportation, or utilities, but that he

is obligated to pay $520 per month on outstanding debt.

     Under 28 U.S.C. § 1915, a person seeking to proceed in forma

pauperis must submit an affidavit that includes “a statement of

all assets such [person] possesses that the person is unable to

pay such fees or give security therefor.”       28 U.S.C.

§ 1915(a)(1).     Bradford has not complied with this requirement.

Although he claims that he is completely without income and that

his assets are nominal, he has not provided any information as to
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how he affords the basic expenses of life, such as food,

clothing, transportation, and housing.      He also does not explain

how he is able to pay his outstanding debts.

     Without a complete picture of Bradford’s financial

situation, including any gifts in kind or in cash, the Court

cannot evaluate whether he qualifies for in forma pauperis

status.

     Accordingly, the motion for leave to proceed in forma

pauperis is DENIED WITHOUT PREJUDICE.      If Bradford wishes to

proceed with this action, he must, within 21 days (1) pay the

$400 filing fee; or (2) file a renewed motion for leave to

proceed in forma pauperis in which he explains how he affords or
is provided the basic necessities of life.       Failure to comply

with this directive will result in dismissal of the action

without prejudice.

So ordered.

                               /s/ Nathaniel M. Gorton
                              Nathaniel M. Gorton
                              United States District Judge
Dated: 12/4/17




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